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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                    MONROE DIVISION


 TAYLA GREENE                                           CASE NO. 3:20-CV-00578

 VERSUS                                                 JUDGE TERRY A. DOUGHTY

 DAKOTA DEMOSS ET AL                                    MAG. JUDGE KAYLA D. MCCLUSKY


                                               ORDER

        Plaintiff has been served more than fourteen (14) days ago with a Notice of Intent to

 Dismiss this case under LR 41.3 for the reason that service of the summons and complaint was

 not made within 90 days of the institution of this civil action and Plaintiff has failed to show

 good cause for this deficiency. Accordingly,

        IT IS ORDERED that this action be dismissed as to Doe and John Doe Corp. This

 action may be reinstated within thirty (30) days for good cause shown.

        For questions regarding this document or transmission, please call our CM/ECF help

 desk at 1-866-323-1101.

        THUS DONE November 14, 2022.



                                                   TONY R. MOORE
                                                   CLERK OF COURT
